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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

WSOU INVESTMENTS, LLC d/b/a                         §
BRAZOS LICENSING AND                                §
DEVELOPMENT,                                        §
                                                    §
       Plaintiff,                                   §
                                                    §
v.                                                  §      Civil Action No. 6:21-cv-00153-ADA
                                                    §
NETGEAR, INC.,                                      §
                                                    §
       Defendant.                                   §
                       NOTICE OF APPEARANCE OF KEVIN E. CADWELL

       The following designated attorney herby enters an appearance as counsel of record for

Defendant NETGEAR, Inc. and is authorized to receive service on all pleadings, notices, orders and

other papers in the above-captioned matter on behalf of Plaintiffs and Defendants.


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Dated: March 22, 2021              By: /s/ Kevin E. Cadwell
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